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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

RICHARD LAWRENCE,                    )
                                     )
                  Plaintiff,         )                  Case No. 1:23-cv-00720-GBW
                                     )
     v.                              )
                                     )
ARCONIC CORPORATION, FREDERICK A. )
HENDERSON, WILLIAM F. AUSTEN,        )                  JURY TRIAL DEMANDED
CHRISTOPHER L. AYERS, MARGARET S. )
BILLSON, JACQUES CROISETIERE,        )
ELMER L. DOTY, CAROL S. EICHER,      )
ELLIS A. JONES, TIMOTHY D. MYERS, E. )
STANLEY O’NEAL, and JEFFREY          )
STAFEIL,                             )
                                     )
                  Defendants.        )


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: July 26, 2023                                 LONG LAW, LLC

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